Case 1:12-cr-00003-AJT Document 217-1 Filed 08/11/15 Page 1 of 1 PageID# 2608




                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF VIRGINIA
                                ALEXANDRIA DIVISION

 UNITED STATES OF AMERICA, et al.,                )
                                                  )
                                                  )
        Plaintiff,                                )
                                                  )
 v.                                               )       The Honorable Liam O’Grady
                                                  )
 KIM DOTCOM, et al.,                              )       12 CR 3
                                                  )
                                                  )
        Defendants.                               )



  [PROPOSED] PROTECTIVE ORDER FOR THE BENEFIT OF NON-PARTY QTS
  REALTY TRUST, INC., SUCCESSOR-IN-INTEREST TO CARPATHIA HOSTING,
                                 INC.

       In consideration of the motion and supporting documents filed by QTS Realty Trust, Inc.

(“QTS”),

       It is hereby ORDERED that a protective order for the benefit of QTS is hereby entered

in accordance with the terms of the motion filed by QTS on August 11, 2015.



Dated: August        , 2015


                                             Judge Liam O’Grady
                                             United States District Court Judge
